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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SOUROTH CHATTERJI              )
                               )
              Plaintiff,       )
                               )
                               )                   No. 2:18-cv-00199-CB
       v.                      )                   (Judge Cathy Bissoon)
                               )
CITY OF PITTSBURGH and         )
ASSITANT CHIEF OF              )
THE PTITSBURGH                 )
BUREAU OF POLICE LINDA BARONE, )
Individually,                  )
                               )
              Defendants.      )

                         NOTICE OF ENTRY OF APPEARANCE

        To:     Clerk of Court
                United States District Court
                Western District of Pennsylvania

        And now comes James T. Tallman, Esquire, and respectfully enters his

appearance as attorney for Assistant Chief of the Pittsburgh Bureau of Police Linda

Barone in this case. Please forward all electronic notices filed in this case to my email

address jtallman@elliott-davis.com.

                                          Respectfully Submitted,


                                          By:    /s/James T. Tallman
                                            James T. Tallman, Esquire
                                            Elliott & Davis, P.C.
                                            Attorney for Defendant
                                            Assistant Chief of the Pittsburgh Bureau of
                                            Police Linda Barone
                                            Pa. Bar. # 79257
                                            425 First Avenue
                                            Pittsburgh, PA 15219
DATE:     3/18/18                           (412) 434-4911 ext. 17
